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                      IN THE UNITED STATES DISTRICT COURT
                      DISTRICT OF UTAH, NORTHERN DIVISION


 XAT.COM LIMITED,                         DEFENDANT’S REPLY IN SUPPORT
                                            OF SHORT FORM MOTION TO
        Plaintiff,                         COMPEL INITIAL DISCLOSURES,
                                          ANSWERS TO INTERROGATORIES
 v.                                          AND THE PRODUCTION OF
                                                  DOCUMENTS
 HOSTING SERVICES, INC. A/K/A
 100TB.COM,                                  Expedited Treatment Requested

        Defendant.                               Case No. 1:16-cv-00092
                                                Honorable Paul M. Warner
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         In its opposition to 100TB’s Short Form Motion to Compel, Xat states for the first time

that it “has provided 100TB with the information it will use to support its claim for damages.”

ECF No. 82 at 2. This is news to 100TB, as Xat did not organize or label any of the 13

documents in its September 21, 2018 production to correspond to 100TB’s requests, see Fed. R.

Civ. P. 34(b)(2)(E)(i), or describe what those documents were.1 Further, contrary to Xat’s

assertion that its supplemental responses “provided additional details regarding its damages

including rough estimates of the calculations,” Xat’s supplemental response to 100TB’s

Interrogatory 8 did not actually include any new information. See Exhibit J. In any event, if

Xat’s position is that it has produced all documents supporting its damage claim, then 100TB

proposes that the need for a judicial determination on this aspect of 100TB’s motion could be

obviated if Xat were willing to enter into a stipulation, to be so ordered by the Court, that the

documents from Xat’s September 21, 2018 production are the only ones that Xat may rely on to

prove its damages.2

         Xat also argues that it need not comply with Rule 26(a)(1)(A)(iii) because it cannot

provide the required computations without an expert. ECF No. 82 at 3. But its sole authority for

that proposition—Jake’s Fireworks, Inc. v. Sky Thunder, LLC, No. 16-CV-2475-JAR-GLR, 2017

WL 4037705, at *3 (D. Kan. Sept 13, 2017)—actually supports 100TB’s position because the




1
  On September 28, 2018, a few hours after 100TB filed its motion, Xat designated four excel spreadsheets as
responsive to 100TB’s Request for Production 10 (seeking documents concerning Xat’s claimed damages). These
included three excel spreadsheets from its September 21 production and a fourth excel spreadsheet titled “xat sales
ex vat.xlsx,” which Xat produced on September 28 with no bates number.
2
  Xat’s September 21, 2018 production consists of documents bates numbered XAT_0001709264 –
XAT_0001709566.

                                                         2
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Court granted the motion to compel, ordering the Plaintiff to provide a computation of its actual

damages no later than 30 days from the date of the Court’s order.

       Last, there is nothing unclear about the deficiencies in Xat’s responses to Interrogatories

5, 7, 15, and 16 and Requests for Production 8, 9, 13, and 14, which were explained in detail in

100TB’s meet and confer letters. See ECF No. 81, Exhibits E-I. Although Xat claims that its

recent supplemental responses contained “the responsive materials in its possession,” see ECF

No. 82 at 4, Xat’s supplemental responses in fact contained very little new information and did

not cure many of the deficiencies that plagued its original responses. See Exhibit J. This is

particularly true given that Xat now claims the “database” it previously referred to in response to

many of 100TB’s requests is “entirely irrelevant” to this case. ECF No. 82 at 4.



DATED: October 9, 2018


                                              BAKER & HOSTETLER LLP (NY)



                                              By:    /s/ David McMillan


                                                     Attorneys for Defendant Hosting Services,
                                                     Inc., a/k/a 100TB.com




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                                   CERTIFICATE SERVICE
        I hereby certify that on the 9th day of October 2018, I caused a true and correct copy of
the foregoing REPLY IN SUPPORT OF SHORT FORM MOTION TO COMPEL
INITIAL DISCLOSURES, ANSWERS TO INTERROGATORIES AND THE
PRODUCTION OF DOCUMENTS to be served by CM/ECF on the following:

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